
PER CURIAM:
Defendant was convicted of the crime of second degree murder. An important witness for the State was one Virginia Bedient.
The Attorney General admits that there is evidence tending to show that Bedient was an accomplice in the crime although there is some conflict. It is admitted there is also evidence that Bedient had been given immunity from prosecution. Counsel for defendant at the trial raised the matter of the sufficiency of the testimony of an accomplice. The Court failed to give an instruction with reference to testimony of *152an accomplice, or the necessity for corroboration of such testimony.
The Attorney General confesses reversible error because of failure to give instructions on the law concerning testimony of an accomplice, citing State v. Howard, 97 Ariz. 339, 400 P.2d 332 (1965). See also State v. Gutierrez, 81 Ariz. 377, 306 P.2d 634 (1957); State v. Betts, 71 Ariz. 362, 227 P.2d 749 (1951).
For the foregoing reasons the case is reversed and remanded for new trial.
